Case 2:02-cr-20027-.]DB Document 126 Filed 06/15/05 Page 1 of 2 Page|D 110

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IN THE UNITED STATES DISTRICT COURT "wil@

FoR THE wEsTERN DISTRICT oF TENNESSEE 915 mw
wEsTERN DIvIsIoN “ `“`” ': 5 H ?= 57

UNITED STATES OF AMERICA,
Plaintiff,

vs. CR. NO. 02-20027-B

FREDDIE PETERS,

Defendant.

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ORDER DENYING AS MOOT DEFENDANT'S MOTION
FOR BAIL PENDING RESENTENCING

 

Before the Court is Defendant's Motion_ for Bail Pending
Resentencing, filed on May 17, 2005 (Dkt #121). This motion was
referred to the United States Magistrate Judge for determination.
On June 13, 2005, defense counsel contacted the case manager for
the undersigned and asked that this motion be withdrawn.because the
district judge has since set the resentencing hearing for June 23,

2005. On that basis, the motion is DENIED as MOOT.

TU M. PHAM
United States Magistrate Judge

Uo\~\ \H‘, S#DQF'

Date

IT IS SO ORDERED.

 

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Kemper B. Durand

THOMASON HENDRIX HARVEY JOHNSON & MITCHELL
40 S. Main St.

Ste. 2900

Memphis7 TN 38103--552

Linda N. Harris

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Honorable J. Breen
US DISTRICT COURT

